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                   EXHIBIT 6
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  Message
  From:          KP13 [/O=UNDERARMOUR/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDI BOHF23SPDLT)/CN=RECIPIENTS/CN=KP13]
  Sent:          1/11/2016 10:51:27 AM
  To:            Smith, Jen (Office of CEO) [/o=Underarmour/ou=Exchange Administrative Group
                 (FYDI BOH F23SPDLT)/cn=Recipients/ cn=js m ith]; Stafford, Henry [/ o=Undera rm our/ ou=Excha nge Administrative
                 Group (FYDIBOHF23SPDLT)/cn=Recipients/cn=hstafford]; Dickerson, Brad [/o=U nderarmour/ou=First Administrative
                 Group/cn=Recipients/cn=bdickerson]; Shaw, Tom [/o=Underarmour/ou=Exchange Administrative Group
                 (FYDIBOHF23SPDLT)/cn=Recipients/cn=tshaw]; Stanton, John [/o=Undera rmour/ou=First Administrative
                 Group/cn=Recipients/cn=jstanton]; Anguilla, Rick [/o=Underarmour/ou=First Administrative
                 Group/cn=Recipients/cn=RAnguilla]; Bergman, David E. [/o=Underarmour/ou=First Administrative
                 Group/cn=Recipients/cn=dbergman]
  Subject:       Morgan stanley


  We must all get on a call with as many facts available to us and have a strategy to put our friends in media and other analysts
  to work to refute this report.
  Let's get the FACTS and understand where and how they came to this conclusion and then decide how to proceed . We are in
  a quiet period but this will not go unanswered.
  Georgetown conference room at 12:15 - thanks.




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                                                                                           Date(:)- I -; · c:).?
                                                                                                           T. Alfaro



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